               Case 1:14-cr-02084-RMP                     ECF No. 167              filed 06/22/15         PageID.635 Page 1 of 6
  OAO 245B     (Rev. 09/11) Judgment in a Criminal Case
               Sheet 1 Revised by WAED - 06/13

                                                                                                                                         FILED IN THE

                                             UNITED STATES DISTRICT COURT                                                            U.S. DISTRICT COURT
                                                                                                                               EASTERN DISTRICT OF WASHINGTON


                                                   Eastern District of Washington                                               Jun 22, 2015
           UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE                             SEAN F. MCAVOY, CLERK

                      V.
                                                                            Case Number:           1:14CR02084-RMP-3
                   ANTONIO AMEZCUA
                                                                            USM Number:            17555-085

                                                                                  Robert Flennaugh, II
                                                                            Defendant’s Attorney




 THE DEFENDANT:

 ✔pleaded guilty to count(s)
 G                                    6 of the Indictment
 G pleaded nolo contendere to count(s)
    which was accepted by the court.
 G was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                   Nature of Offense                                                                       Offense Ended          Count
21 U.S.C. § 841(a)(1)             Possession with Intent to Distribute Cocaine                                                10/29/14             6
   & (b)(1)(C)




        The defendant is sentenced as provided in pages 2 through                      6      of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 G The defendant has been found not guilty on count(s)
 ✔Count(s)
 G               all remaining counts                       G is      ✔are dismissed on the motion of the United States.
                                                                      G
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                   6/17/2015
                                                             Date of Imposition of Judgment




                                                             Signature of Judge



                                                            Honorable Rosanna Malouf Peterson                  Chief Judge, U.S. District Court
                                                             Name and Title of Judge


                                                                                                   6/22/2015
                                                             Date
                 Case 1:14-cr-02084-RMP                  ECF No. 167            filed 06/22/15       PageID.636 Page 2 of 6
AO 245B       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2 — Imprisonment

                                                                                                          Judgment — Page   2   of   6
DEFENDANT: ANTONIO AMEZCUA
CASE NUMBER: 1:14CR02084-RMP-3


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:       a year and a day




     G The court makes the following recommendations to the Bureau of Prisons:




     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
          G     at                                     G a.m.     G p.m.         on                                         .

          G     as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G     before 2 p.m. on                                            .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

at                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             By
                                                                                                    DEPUTY UNITED STATES MARSHAL
                Case 1:14-cr-02084-RMP                   ECF No. 167         filed 06/22/15        PageID.637 Page 3 of 6
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 3 — Supervised Release

                                                                                                           Judgment—Page
                                                                                                                             3     of
                                                                                                                                               6
DEFENDANT: ANTONIO AMEZCUA
CASE NUMBER: 1:14CR02084-RMP-3
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :            3 year(s)



        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
G
✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G

G The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
  as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency withou t the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit th e probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
            Case 1:14-cr-02084-RMP                    ECF No. 167      filed 06/22/15        PageID.638 Page 4 of 6
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 3C — Supervised Release
                                                                                                     Judgment—Page     4      of         6
DEFENDANT: ANTONIO AMEZCUA
CASE NUMBER: 1:14CR02084-RMP-3

                                         SPECIAL CONDITIONS OF SUPERVISION
 14) You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis testing (which may include urinalysis
 or sweat patch), as directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence
 from these substances.

 15) You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare. You
 shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal disclosure between the
 supervising officer and treatment provider.

 16) You shall submit your person, residence, office, or vehicle to a search, conducted by a probation officer, at a sensible time and
 manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to submit to
 search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may be subject to
 search.
              Case 1:14-cr-02084-RMP                  ECF No. 167         filed 06/22/15        PageID.639 Page 5 of 6
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page      5      of         6
DEFENDANT: ANTONIO AMEZCUA
CASE NUMBER: 1:14CR02084-RMP-3
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                    Fine                                  Restitution
TOTALS                $100.00                                       $0.00                                 $0.00


G The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage




TOTALS                                $                    0.00          $                        0.00


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the G fine G restitution.
      G the interest requirement for the G fine G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
              Case 1:14-cr-02084-RMP                    ECF No. 167         filed 06/22/15        PageID.640 Page 6 of 6
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                         Judgment — Page     6      of       6
DEFENDANT: ANTONIO AMEZCUA
CASE NUMBER: 1:14CR02084-RMP-3

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    ✔ Lump sum payment of $
     G                                     100.00            due immediately, balance due

          G      not later than                                  , or
          ✔
          G      in accordance           G C,         G D,   G     E, or    ✔ F below; or
                                                                            G
B    G    Payment to begin immediately (may be combined with               G C,      G D, or     G F below); or
C    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the following address until monetary penalties are paid in full: Clerk, U.S. District Court, Attention:
Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G    Joint and Several

     Case Numbers (including defendant number) and Defendant and Co-Defendant Names, Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G
      Pursuant to the plea agreement: Approximately $50,975.00 in US Currency; 2013 Jeep Wrangler; a Glock; a Kel Tech; a EAA
      Klitness; a Sub Gun; a Taurus; a Walther; and a Colt.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
